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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

                      Plaintiff,

v.                                                         Case No. 19-10048-01-JWB
                                                           (Civ. Case No. 20-1309-JWB)

MARIA ALONSO-ESPINOZA,

                      Defendant.


                               MEMORANDUM AND ORDER

       This matter is before the court on Defendant’s motion to vacate or correct sentence under

28 U.S.C. 2255. (Doc. 41.) The government has filed a response. (Doc. 48.) After the government

responded, the court appointed attorney Paul S. McCausland to represent Defendant, and the court

subsequently held two status hearings with counsel concerning the motion. The court is now

prepared to rule. For the reasons stated herein, Defendant’s motion to vacate sentence is DENIED

IN PART and GRANTED IN PART.

       I. Background

       On February 26, 2019, Defendant was arrested following a traffic stop on Interstate 70 in

Russell County, Kansas. In the course of the stop, a Kansas Highway Patrol Trooper found

approximately twenty-one pounds of suspected methamphetamine in the vehicle in which

Defendant was traveling with another individual. (Doc. 1.) On March 6, 2019, Defendant was

charged in a one-count indictment with unlawful possession with intent to distribute 500 grams or

more of a mixture containing methamphetamine, in violation of 21 U.S.C. § 841(a)(1) and

(b)(1)(A), and 18 U.S.C. § 2. (Doc. 8.)
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        An assistant federal public defender was initially appointed to represent Defendant but

withdrew because of a conflict of interest. (Doc. 13.) On April 5, 2019, attorney Sylvia B. Penner

of the District of Kansas Criminal Justice Act (CJA) Panel was appointed as substitute counsel.

(Doc. 14.) Two continuances were subsequently granted by the court at Defendant’s request.

(Docs. 15, 18.) On July 16, 2019, Defendant submitted a request for a new attorney, complaining

about a lack of communication regarding her case, but withdrew the request when the court held a

hearing on it. (Docs. 20, 22.) The case was scheduled for trial on October 1, 2019, but on

September 24, 2019, Defendant notified the court of her intent to change her plea. (Doc. 27.)

        Defendant appeared for a Rule 11 hearing on November 4, 2019. She was represented by

Ms. Penner and aided by a Spanish interpreter.1 The court personally addressed Defendant at the

hearing and examined her under oath to ascertain, among other things, whether she was competent

to enter a plea of guilty, whether she understood her right to plead not guilty and have a jury trial,

whether she understood her right to be represented by counsel, whether she understood the rights

attendant to a trial and that she would be waiving those rights if she pled guilty, whether she

understood the charges and possible penalties (including a mandatory minimum sentence) for the

offense, whether she understood the operation and effect of the sentencing guidelines, whether she

understood the terms of her plea agreement with the government, and whether she understood the

waiver of a right to appeal in her plea agreement. Defendant represented to the court that she

understood all of these matters. (See Doc. 32.) After reviewing these and other matters, Defendant

entered a plea of guilty to the charge in the indictment. Defendant also executed a Petition to Enter

a Plea of Guilty in which she represented that she understood the foregoing matters. (Doc. 30.)


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  Defendant represented at the Rule 11 hearing that although she can speak and read English and Spanish, the use of
a Spanish interpreter would be helpful in understanding the proceedings. (Doc. 32 at 3, 7.) The Presentence Report
(PSR) also indicates Defendant advised a probation officer that she speaks, reads, and writes Spanish and English.
(Doc. 34 at 14.)

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Defendant also executed a plea agreement in which she admitted the factual basis for the offense

and agreed to enter a plea of guilty to the charge in the indictment in exchange for certain promises

from the government. (Doc. 31.) The court accepted Defendant’s guilty plea after determining

that there was a factual basis for it and that Defendant entered the plea freely and voluntarily and

with a full understanding of its consequences. (Id. at 26.)

        Sentencing was held on January 27, 2020. (Doc. 35.) The Presentence Report (PSR)

determined that Defendant’s guideline range for imprisonment was 121 to 151 months, but the

court concluded Defendant qualified for a “safety valve” reduction under U.S.S.G. § 5C1.2,

making the applicable guideline range 97 to 121 months. (Doc. 47 at 11.) The court ultimately

imposed a sentence of 85 months’ imprisonment, to be followed by a five-year term of supervised

release, and a $100 special assessment. (Doc. 36.) Judgment was entered on January 29, 2020.

(Id.)

        On November 5, 2020, Defendant filed the instant motion to vacate sentence under 28

U.S.C. § 2255. (Doc. 41.) In Ground One, the motion alleges that “almost immediately after”

sentencing, Defendant’s sister contacted Ms. Penner and stated that Defendant wanted to file an

appeal, but Penner failed to do so. (Id. at 4.) In Ground Two, it alleges that Penner failed to

communicate with Defendant and keep her informed about the case, leaving Defendant

“completely uninformed throughout all the proceedings” and “unsure about everything.” (Id. at

5.) Defendant contends she would have asked for a new attorney but “did not know how to ask”

for one. (Id. at 6.)

        II. Standards

        Section 2255(a) of Title 28 of the U.S. Code provides in part that “[a] prisoner in custody

under sentence of a court established by Act of Congress claiming the right to be released upon



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the ground that the sentence was imposed in violation of the Constitution or laws of the United

States ... or is otherwise subject to collateral attack, may move the court which imposed the

sentence to vacate, set aside, or correct the sentence.” Unless the motion and the record of the case

conclusively show the prisoner is entitled to no relief, the court must promptly grant a hearing. 28

U.S.C. § 2255(b). However, if it plainly appears from the motion, any attached exhibits, and the

record that the moving party is not entitled to relief, the judge must dismiss the motion. Rule 4(b),

Rules Governing Section 2255 Proceedings. See United States v. Santiago, No. 19-10055-JWB,

2021 WL 663201, at *3 (D. Kan. Feb. 19, 2021).

        “The Sixth Amendment guarantees a defendant the effective assistance of counsel at

‘critical stages of a criminal proceeding,’ including when he enters a guilty plea.” Lee v. United

States, 137 S. Ct. 1958, 1964 (2017) (citation omitted.) “To demonstrate that counsel was

constitutionally ineffective, a defendant must show that counsel's representation ‘fell below an

objective standard of reasonableness’ and that he was prejudiced as a result.” Id. (quoting

Strickland v. Washington, 466 U.S. 668, 688, 692 (1984)). A court considering a claim of

ineffective assistance must apply a “strong presumption” that counsel's representation was within

the “wide range” of reasonable professional assistance. Strickland, 466 U.S. at 689. To establish

prejudice, a defendant must show a “reasonable probability that, but for counsel's unprofessional

errors, the result of the proceeding would have been different. A reasonable probability is a

probability sufficient to undermine confidence in the outcome.” Id. at 694. When a defendant

alleges that her attorney’s deficient performance led her to accept a guilty plea rather than go to

trial, a defendant “can show prejudice by demonstrating a ‘reasonable probability that, but for

counsel's errors, [she] would not have pleaded guilty and would have insisted on going to trial.’”

Lee, 137 S. Ct. at 1965 (citation omitted.) See Santiago, 2021 WL 663201, at *3.



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       III. Analysis

       A.    Failure to communicate.       Defendant’s allegations that her attorney failed to

communicate with her about the case are entirely conclusory and fail to demonstrate any

entitlement to relief. The motion does not identify any particular aspect of the case or the

proceedings about which Defendant was uninformed. See United States v. Creighton, 786 F.

App’x 743, 748-49 (10th Cir. 2019) (allegation that there “was not any reasonable communication”

was conclusory and unsupported.) Moreover, these vague allegations are directly contrary to

Defendant’s numerous representations throughout the case. When Defendant withdrew her

request for a new attorney on July 30, 2019, she represented under oath that she wanted Ms. Penner

to remain as her lawyer. Defendant stated she was previously confused but had talked with Penner

and they had good communication and Penner was doing a good job of representing her. (Doc. 45

at 5-6.) At the Rule 11 hearing, when the court reviewed the case with Defendant and explained

her rights, Defendant represented under oath (among other things) that she was able to think clearly

(id. at 7); that she and her lawyer had had enough time to discuss the charge and the proposed plea

and carefully review everything in the petition and plea agreement (id. at 11); that all of those

documents were either read by Defendant or read to her in Spanish (id. at 12); that she and her

lawyer had time to review and discuss all of the documents produced by the government and had

discussed in detail the advantages and disadvantages of pleading guilty instead of going to trial

(id.); that she understood she could refuse to enter a plea agreement and could insist on going to

trial (id.); and that she was completely satisfied with her lawyer’s legal advice and representation.

(Id.) Defendant also specifically admitted the factual basis stated by the government at the hearing,

including that she had picked up the methamphetamine and was transporting it to Wichita for

distribution. (Id. at 23.) Defendant represented that she understood the decision to plead guilty



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was hers alone and that her lawyer had not indicated in any way that she must plead guilty, and

that her lawyer made it clear she would defend her to the best of her ability if she went to trial.

(Id. at 24.) Defendant also represented that she was pleading guilty freely and voluntarily and had

no questions for the court or her lawyer about her case. (Id. at 25.) At the sentencing hearing on

January 27, 2020, Defendant similarly represented under oath that she had had an opportunity to

review the PSR and go over it with her attorney and was satisfied with her attorney’s

representation. (Doc. 47 at 4.) Defendant also now complains “there was a language barrier”

between her and counsel, but that too is unexplained and is contrary to the record showing that

Defendant generally understands both Spanish and English. Defendant also now claims she “did

not know who or how to ask for a new attorney,” but that allegation too is contradicted by the

record, which shows that early in the case she wrote a letter to the court asking for a new attorney,

but then withdrew the request when the court held a hearing on it. (Docs. 20, 45.)

       In light of the clear and specific representations made by Defendant under oath, her vague

allegations that her attorney did not adequately communicate with her do not show an entitlement

to relief. See United States v. Saucedo-Avalos, No. 14-20071-02-JAR, 2018 WL 2321952, *6 (D.

Kan. May 22, 2018) (“Absent a believable reason justifying departure from their apparent truth,

the accuracy and truth of a defendant's statements at a Rule 11 proceeding at which his plea is

accepted are conclusively established.”) (citing United States v. Glass, 66 F. App'x 808, 810 (10th

Cir. 2003)). The allegations in the petition fail to show that counsel’s representation fell below an

objective standard of reasonableness and fail to show that Defendant suffered any prejudice as the

result of any deficiency in communication. Insofar as the motion alleges ineffective assistance of

counsel based on a lack of communication, the record shows Defendant is not entitled to relief and

that such allegations should be dismissed.



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       B. Failure to file notice of appeal. Defendant alleges that after sentencing, her sister

“explain[ed] my desire to file an appeal” to Ms. Penner but Penner indicated she would have to

find another lawyer and failed to file an appeal. (Doc. 41 at 4.)

       Counsel has a constitutional duty to consult with a defendant about an appeal “when there

is reason to think either (1) that a rational defendant would want to appeal (for example, because

there are nonfrivolous grounds for appeal), or (2) that this particular defendant reasonably

demonstrated to counsel that [she] was interested in appealing.” Roe v. Flores, 528 U.S. 470, 480

(2000). When an attorney has consulted with a defendant about filing an appeal – meaning the

attorney has advised the defendant about the advantages and disadvantages of an appeal and made

a reasonable effort to discover the defendant’s wishes – counsel performs in a professionally

unreasonable manner “only by failing to follow the defendant’s express instructions with respect

to an appeal.” Id. at 478. Thus, a lawyer “who disregards specific instructions from the defendant

to file a notice of appeal acts in a manner that is professionally unreasonable.” Id. at 477.

       Defendant’s allegations concerning the filing of an appeal are somewhat vague. They do

not state whether Penner consulted with Defendant about filing an appeal or what express

instructions Defendant gave Penner.       They merely indicate that sometime after sentencing,

Defendant’s sister “explained” to Penner something about Defendant’s “desire” to file an appeal.

(Doc. 41 at 4.) It is not clear what message was in fact conveyed. Nevertheless, the allegations

leave open the possibility of relief under Flores if Defendant were to present evidence showing

that her attorney failed to properly consult with her or disregarded express instructions from her to

file an appeal. Cf. United States v. Kelley, 318 F. App’x 682, 688 (10th Cir. 2009) (finding

defendant reasonably demonstrated his interest in filing an appeal).




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       In response to these allegations, the government asserts there is uncertainty about the

substance of the alleged conversation and, based on that uncertainty, it concedes the motion should

be granted and judgment should be reinstated to allow Defendant to file an appeal. (Doc. 48 at 9-

10.)   The government reiterated this position at a recent status conference, indicating that

evidentiary difficulties would likely make a hearing unproductive and a waste of time and

resources. It contends, and defense counsel agreed, that the court can and should vacate and

reinstate the judgment to allow an appeal without conducting a hearing and without making

findings about the substance of the alleged conversation and whether counsel’s actions constituted

ineffective assistance.

       Based on the government’s concession, the court will assume without deciding that

Defendant’s claim is true and will vacate and reinstate the judgment to permit Defendant to file an

appeal. See United States v. Sandoval-Lopez, 409 F.3d 1193, 1198 (9th Cir. 2005) (“if the

[government] does not object, the district court can vacate and reenter the judgment without a

hearing and allow the appeal to proceed, assuming without deciding that the petitioner's claim is

true.”) Cf. Castro v. United States, 540 U.S. 375, 386 (2003) (“[o]ur adversary system is designed

around the premise that the parties know what is best for them, and are responsible for advancing

the facts and arguments entitling them to relief.”) (Scalia, J., concurring in part and concurring in

the judgment).

       IV. Conclusion

       Defendant’s motion to vacate or correct sentence under 28 U.S.C. § 2255 (Doc. 41) is

DENIED IN PART and GRANTED IN PART. The motion is DENIED insofar as it alleges (in

Ground Two) that defense counsel provided ineffective assistance by failing to communicate with

Defendant about her case. The motion is GRANTED (as to Ground One) insofar as Defendant



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seeks relief consisting of an order vacating and reinstating the judgment, thereby allowing

Defendant to file a notice of appeal of the judgment.         The court hereby VACATES and

REINSTATES the judgment of conviction and sentence previously imposed in this case (Doc. 36)

to enable Defendant to file a notice of appeal. Pursuant to Fed. R. App. P. 4(b), Defendant has 14

days from reinstatement of the judgment to file a notice of appeal.

       IT IS SO ORDERED this 7th day of June, 2021.



                                             _____s/ John W. Broomes__________
                                             JOHN W. BROOMES
                                             UNITED STATES DISTRICT JUDGE




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